Case: 1:22-cv-01291 Document #: 1-1 Filed: 03/10/22 Page 1 of 5 PageID #:8




                    Exhibit A
Case: 1:22-cv-01291 Document #: 1-1 Filed: 03/10/22 Page 2 of 5 PageID #:9
Case: 1:22-cv-01291 Document #: 1-1 Filed: 03/10/22 Page 3 of 5 PageID #:10
              Case: 1:22-cv-01291 Document #: 1-1 Filed: 03/10/22 Page 4 of 5 PageID #:11
                                                                    District 1

                                                               Case Summary
                                                             Case No. 2022CH01062


  Athena Bitcoin Global-vs-Shaun Overton,ROI                             §                            Location:   District 1
  Developers, Inc. D/B/A ACCRUVIA,Jane Doe-                              §                    Judicial Officer:   Calendar, 3
  Overton,Shaun Overton                                                  §                            Filed on:   02/07/2022
                                                                         §   Cook County Attorney Number:         62341



                                                             Case Information


                                                                                                        Case Type:    General Chancery
                                                                                                       Case Status:   02/07/2022 Pending
                                                       Assignment Information

              Current Case Assignment
              Case Number      2022CH01062
              Court            District 1
              Date Assigned    02/07/2022
              Judicial Officer Calendar, 3




                                                             Party Information

 Plaintiff   ~~ Athena Bitcoin Global

 Defendant     Doe-Overton, Jane

              Overton, Shaun

              Overton, Shaun

              ROI Developers, Inc. D/B/A ACCRUVIA



                                                   Events and Orders of the Court

06/08/2022    Case Management          (9:30 AM)    (Judicial Officer: Price Walker, Allen)
                    Resource: Location CH2402   Court Room   2402
                    Resource: Location D1 Richard J Daley Center
02/18/2022     FB
              ‘Motion To Appoint Special Process Server
02/16/2022     T)
               Affidavit Of Service Filed
02/16/2022
               Affidavit Of Service Filed
02/16/2022    BT)
              Affidavit Of Service Filed
02/16/2022    T)
              Affidavit Of Service Filed
02/08/2022    TT
              Summons Issued And Returnable
02/08/2022
              Summons Issued And Returnable
02/08/2022    TT
              Summons Issued And Returnable
                                                               PAGE 1 OF 2                                   Printed on 02/28/2022 at 10:12 AM
             Case: 1:22-cv-01291 Document #: 1-1 Filed: 03/10/22 Page 5 of 5 PageID #:12
                                                           District 1

                                                       Case Summary
                                                     Case No. 2022CH01062
02/08/2022     ri
               Summons Issued And Returnable

02/07/2022     New Case Filing

02/07/2022    ui
              General Chancery Filed (Jury Demand)




                                                       PAGE 2 OF 2          Printed on 02/28/2022 at 10:12 AM
